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 9
                                UNITED STATES DISTRICT COURT
10
                           SOUTHEN DISTRICT OF CALIFORNIA
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13                                                Case No. 3:18–cv–00744–W–KSC
       CERTIFIED NUTRACEUTICALS,
14     INC., a California corporation,            PLAINTIFFCERTIFIED
15                                                NUTRACEUTICALS, INC.’S
                   Plaintiff,                     OPPOSITION TO THE CLOROX
16           v.                                   DEFENDANTS’ EX PARTE
17                                                APPLICATION FOR:
       THE CLOROX COMPANY, a Delaware             (1) RECONSIDERATION OF THE
18     corporation;                               COURT’S ORDER ON THE
19     NEOCELL CORPORATION, a                     CLOROX DEFENDANTS’ MOTION
       California corporation,                    FOR SUMMARY JUDGMENT, AND
20     NEOCELL HOLDING COMPANY, a                 (2) LEAVE TO FILE SUCCESSIVE
21     Delaware limited liability company;        MOTION FOR SUMMARY
       NUTRANEXT, a Delaware corporation;         JUDGMENT [DKT 148]
22     AVICENNA NUTRACEUTICAL, LLC,
23     a Georgia limited liability company; and   Assigned to the Hon. Thomas J. Whelan
       DOES 1 through 10, inclusive
24
25                 Defendant.
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 1              Plaintiff Certified Nutraceuticals, Inc. (“Certified Nutraceuticals”) opposes the Ex
 2    Parte Application of The Clorox Company, Nutranext, and Neocell Holding Company
 3    (collectively, “Clorox Defendants”) for (1) Reconsideration of the Court’s Motion for
 4    Summary Judgment, and (2) for Leave to File a Successive Summary Judgment Motion
 5    (“Application”) [Dkt 148]. The Application is procedurally improper, untimely, fails to
 6    meet or even address the standards the Clorox Defendants must meet to receive the re-
 7    quested relief, and, if granted would deprive Certified Nutraceuticals of its due process
 8    rights.
 9              First, the Clorox Defendants fail to offer any justification for filing the Application
10    (styled a “Request”) without adhering to the requirements of a noticed motion. A proper
11    ex parte application must “address … why the regular noticed motion procedures must
12    be bypassed,” i.e., “it must show why the moving party should be allowed to go to the
13    head of the line in front of all other litigants and receive special treatment.” Mission
14    Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995). This requires
15    the moving party to “show that the moving party’s cause will be irreparably prejudiced if
16    the underlying motion is heard according to regular noticed motion procedures” and “that
17    the moving party is without fault in creating the crisis that requires ex parte relief, or that
18    the crisis occurred as a result of excusable neglect.” Id.; see also Hammett v. Sherman,
19    No. 19-CV-605 JLS (LL), 2019 WL 8013763, at *1 (S.D. Cal. Sept. 23, 2019). “An ex
20    parte application is a means of obtaining extraordinary relief and is appropriate in only
21    rare circumstances.” Santos v. TWC Administration LLC, No. CV 13-04799 MMM
22    (CWx), 2014 WL 12703021, *1 (C.D. Cal. 2014).
23              Here, the Clorox Defendants do not attempt to show irreparable prejudice, nor can
24    they establish that they were without fault in creating the purported crisis that requires ex
25    parte relief. In September 2020, the Clorox Defendants moved for summary judgment
26    [Dkt 117] but neglected to address Certified Nutraceutical’s claim for injunctive relief.
27    They did, however, address literal falsity, and the parties fully briefed the issue. The
28    Court, in the Order Granting In Part and Denying In Part the Clorox Defendants’ Motion
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 1    for Summary Judgment [Dkt 141] (“MSJ Order”), properly addressed injunctive relief on
 2    its own, and correctly held that a jury could find literal falsity. Currently, there remains
 3    sufficient time for the Clorox Defendants to file a noticed motion given that the Final
 4    Pretrial Conference has been scheduled to take place, pursuant to the parties’ joint request,
 5    in mid-March 2022. [Dkt 150 at 3.] Accordingly, there is no reason why the Clorox De-
 6    fendants’ Application could not have been filed as a noticed motion. Moreover, the Clorox
 7    Defendants are solely at fault for failing to make any arguments regarding injunctive re-
 8    lief in their summary judgment motion. Accordingly, ex parte relief is not warranted and
 9    should not be granted.1
10          Second, no matter how the Application has been styled, the relief the Clorox De-
11    fendants seek is reconsideration of the MSJ Order. (See Application at 2–3 (asking the
12    Court to change its conclusion with respect to the availability of injunctive relief and
13    literal falsity).) Accordingly, not only would such a request need to be made by noticed
14    motion, the Clorox Defendants would not be able to meet their burden of showing that
15    reconsideration is appropriate under these circumstances.
16          There are two ways by which a party may seek substantive reconsideration of an
17    order on a motion for summary judgment: (1) Federal Rule of Civil Procedure 59(e) (mo-
18    tion to alter or amend a judgment), or (2) Federal Rule of Civil Procedure 60(b) (motion
19    for relief from judgment). See Hinton v. Pac. Enter., 5 F.3d 391, 395 (9th Cir. 1993).
20          “Although Rule 59(e) permits a district court to reconsider and amend a previous
21    order, the rule offers an extraordinary remedy, to be used sparingly in the interests of
22    finality and conservation of judicial resources.” Kona Enters., Inc. v. Estate of Bishop,
23    229 F.3d 877, 890 (9th Cir. 2000) (internal quotation omitted). “Indeed, ‘a motion for
24    reconsideration should not be granted, absent highly unusual circumstances, unless the
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       In addition, Certified Nutraceuticals notes that the Clorox Defendants failed to include
27    a meet and confer declaration in support of the Application, as required by Chamber’s
28    Rule No. 5.
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 1    district court is presented with newly discovered evidence, committed clear error, or if
 2    there is an intervening change in the controlling law.’” Id. (quoting 389 Orange St. Part-
 3    ners v. Arnold, 179 F.3d 656, 665 (9th Cir. 1999)). A motion for reconsideration “may not
 4    be used to raise arguments or present evidence for the first time when they could reason-
 5    ably have been raised earlier in the litigation.” Id. (emphasis omitted). It does not give
 6    parties a second bite at the apple. See id. “[A]fter thoughts or shifting of ground do not
 7    constitute an appropriate basis for reconsideration. Ausmus v. Lexington Ins. Co., No. 08-
 8    CV-2342-L, 2009 WL 2058549, at *2 (S.D. Cal. July 15, 2009) (Lorenz, J.) (internal
 9    quotation omitted); see also J & J Sports Prods., Inc. v. Brummell, No. 15CV2601-MMA
10    (MDD), 2016 WL 4595140, at *1 (S.D. Cal. Sept. 2, 2016) (citing Exxon Shipping
11    Co. v. Baker, 544 U.S. 471, 486-87 (2008)) (Rule 59 may not be used to relitigate old
12    matters, raise new arguments, or present evidence that could have been raised prior to
13    entry of the judgment.).
14          Rule 60(b) provides for extraordinary relief and may be invoked only upon a show-
15    ing of exceptional circumstances. Engleson v. Burlington N.R. Co., 972 F.2d 1038, 1044
16    (9th Cir. 1992) (citing Ben Sager Chem. Int'l v. E. Targosz & Co., 560 F.2d 805, 809 (7th
17    Cir. 1977)). Under Rule 60(b), a court may grant reconsideration based on: (1) mistake,
18    inadvertence, surprise or excusable neglect; (2) newly discovered evidence which by due
19    diligence could not have been discovered before the court’s decision; (3) fraud, misrep-
20    resentation, or misconduct by the adverse party; (4) the judgment is void; (5) the judg-
21    ment has been satisfied, released, or discharged; or (6) any other reason justifying relief.
22    Fed. R. Civ. P. 60(b). The last prong is “used sparingly as an equitable remedy to prevent
23    manifest injustice and is to be utilized only where extraordinary circumstances prevented
24    a party from taking timely action to prevent or correct an erroneous judgment.” Delay v.
25    Gordon, 475 F.3d 1039, 1044 (9th Cir. 2007) (internal quotations omitted).
26          Here, in addition to the fact that the Application fails to give Certified Nutraceuti-
27    cals proper notice and an opportunity to be heard, the Application is deficient because it
28    is a disguised motion for reconsideration that fails to address, let alone meet, the
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 1    requirements of a such a motion. In their Application, the Clorox Defendants take issue
 2    with the Court’s finding that “[b]ecause the raw ingredient of CJC is not made of 100%
 3    collagen type II from chicken sternal cartilage, a factfinder could conclude that labeling
 4    the CJC product as pure sternal chicken cartilage is literally false.” Specifically, the
 5    Clorox Defendants argue that they met their burden on summary judgment to show an
 6    absence of evidence to support Certified Nutraceutical’s claim of literal falsity and that
 7    summary judgment should have been granted. In other words, the Clorox Defendants are
 8    asking the Court to reconsider a holding in its summary judgment order. The issue they
 9    seek to relitigate, however, has already been addressed by the Court in the MSJ Order,
10    there is no reason it could not have been addressed in the summary judgment moving
11    papers, and the Clorox Defendants point to no grounds for seeking reconsideration of the
12    MSJ Order other than their disagreement with the Court’s reasoning. They are simply
13    trying to relitigate issues already decided by the Court. They point to no new evidence,
14    no intervening change in the law, and no clear error committed by the Court. Moreover,
15    there are no extraordinary circumstances that could justify reconsideration under Rule
16    60(b).
17             In the alternative, the Clorox Defendants seek leave to address whether the request
18    for injunctive relief is moot. This is merely an attempt to raise an argument regarding
19    injunctive relief that the Clorox Defendants neglected to raise in its motion for summary
20    judgment. Accordingly, this also is not a proper basis for reconsideration. See Kona, 229
21    F.3d at 890; Ausmus, 2009 WL 2058549, at *2.2
22             Third, although the Clorox Defendants acknowledge that filing a successive sum-
23    mary judgment motion would require modification of the Scheduling Order, they offer
24    no facts to establish good cause under Fed. R. Civ. P. 16(b), which is required in a motion
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      2
        In addition, the Application is untimely in that a motion for reconsideration must be
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      filed within 28 days of the entry of the order. Civ. L.R. 7.1(i)(2). Here, the MSJ Order
27    issued on September 29, 2021, meaning the deadline to seek reconsideration was October
28    27, 2021. The Clorox Defendants’ Application was not filed until October 28, 2021.
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 1    to modify the Scheduling Order. Rule 16(b) requires that a scheduling order “may be
 2    modified only for good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4).
 3    “Good cause” considers the diligence of the party seeking relief. Johnson v. Mammoth
 4    Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). “The district court may modify the
 5    pretrial schedule ‘if it cannot reasonably be met despite the diligence of the party seeking
 6    the extension.’” Id. (citing Fed. R. Civ. P. 16 advisory committee’s notes (1983 amend-
 7    ment)). If the moving party was not diligent, then “the inquiry should end.” Id. The party
 8    seeking to continue or extend the deadline bears the burden of showing good cause.
 9    Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080, 1087 (9th Cir. 2002).
10          Here, the Clorox Defendants have not met their burden of showing good cause.
11    The Scheduling Order required all summary judgment motions to be filed no later than
12    September 14, 2020. [Dkt 81.]3 The Clorox Defendants addressed literal falsity in their
13    moving papers, it was fully briefed, and the Court properly ruled on that issue based on
14    a fully developed record. With respect to injunctive relief, the only reason the Clorox
15    Defendants were unable to address injunctive relief in their motion for summary judg-
16    ment was because they apparently did not spot that issue when they filed their motion. It
17    was the Clorox Defendants’ burden on summary judgment to address all relief sought by
18    the operative complaint. Their failure to do so does not establish that they were diligent
19    in seeking a modification of the pretrial schedule. Accordingly, “the inquiry should end.”
20    Johnson v. Mammoth Recreations, Inc., 975 F.2d at 609.
21          The Clorox Defendants claim that if the Scheduling Order is modified, there will
22    be good cause because the case may be disposed in their favor. However, they cite to no
23    authority holding that modification of the Scheduling Order to allow relitigation of issues
24    already decided by a court (one of which was briefed and the other of which the moving
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       See also Fed. R. Civ. P. 56 (summary judgment motion may only be filed “until 30 days
27    after the close of all discovery” unless the court or local rules set a different time limit).
28    Here, the close of all discovery occurred before September 14, 2020. [Dkt 81.]
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 1    party neglected to brief) constitutes good cause merely because it might prove to be ben-
 2    eficial to the moving party. The Clorox Defendants’ argument ignores the fact that literal
 3    falsity had been fully briefed when the Court issued the MSJ Order and nothing prevented
 4    the Clorox Defendants from briefing the issue of injunctive relief prior to filing the mo-
 5    tion for summary judgment. Accord D.C. v. Cnty. of San Diego, Case No.: 15-cv-1868-
 6    MMA (NLS), at *6-7 (S.D. Cal. Jan. 25, 2021) (“changing litigation strategy after ex-
 7    hausting appeals is not good cause for finding diligence under Rule 16(b)(4)”).
 8          Fourth, the Clorox Defendants should not be given leave to file a successive sum-
 9    mary judgment motion because the facts and circumstances here do not justify piecemeal
10    litigation of this case by successive summary judgment motions. The Ninth Circuit has
11    held that “district courts have discretion to permit successive motions for summary judg-
12    ment,” and that doing so may “foster[] the ‘just, speedy, and inexpensive’ resolution of
13    suits.” Hoffman v. Tonnemacher, 593 F.3d 908, 911 (9th Cir. 2010) (citations omitted).
14    Due to the potential for abuse, district courts retain discretion to “weed out frivolous or
15    simply repetitive motions.” Id. (citation omitted). “[A] successive motion for summary
16    judgment is particularly appropriate on an expanded factual record.” Id. (citing Fernan-
17    dez v. Bankers Nat’l Life Ins. Co., 906 F.2d 559, 569 (11th Cir. 1990) (“Two motions for
18    summary judgment may be ruled upon in the same case, particularly when discovery has
19    been extended for good reason ….”); Williamsburg Wax Museum, Inc. v. Historic Figures,
20    Inc., 810 F.2d 243, 251 (D.C. Cir. 1987) (“A subsequent motion for summary judgment
21    based on an expanded record is always permissible.”); Kovacevich v. Kent State Univ.,
22    224 F.3d 806, 835 (6th Cir. 2000) (“District courts may in their discretion permit renewed
23    or successive motions for summary judgment, particularly when the moving party has
24    expanded the factual record on which summary judgment is sought.”)). However, succes-
25    sive summary judgment motions are disfavored. See Allstate Fin. Corp. v. Zimmerman,
26    296 F.2d 797, 799 (5th Cir. 1961) (federal courts “do not approve in general the piecemeal
27    consideration of successive motions for summary judgment because parties ought to be
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 1    held to the requirement that they present their strongest case for summary judgment when
 2    the matter is first raised”).
 3           Here, the Clorox Defendants cannot point to an expanded factual record justifying
 4    their proposed second motion for summary judgment. There has been no discovery after
 5    the Clorox Defendants’ first summary judgment motion was filed, and no other develop-
 6    ments that would justify a successive motion for summary judgment. Cf. Hoffman, 593
 7    F.3d at 911–912 (a second summary judgment motion was appropriate based on a subse-
 8    quent deposition of an expert, testimony at trial, and the addition of a new expert witness
 9    after a mistrial, which expanded the factual record beyond what it had been at the time of
10    the pretrial summary judgment motion; “A party may make a renewed motion for sum-
11    mary judgment where the motion presents newly discovered facts supporting the issues
12    reasserted in the motion.”). Instead, the Clorox Defendants merely ask the Court to give
13    them a second chance to address literal falsity and an opportunity to address issues re-
14    garding injunctive relief that the Clorox Defendants did not address in the first summary
15    judgment motion, but which the Court addressed in the MSJ Order based on a fully de-
16    veloped record. Under these circumstances, a successive summary judgment motion is
17    not warranted. See, e.g., San Diego Cnty. Credit Union v. Citizens Equity First Credit
18    Union, Case No. 18cv967-GPC(RBB), at *2-3 (S.D. Cal. Nov. 10, 2020) (denying leave
19    to file second summary judgment motion; “CEFCU does not explain why it did not or
20    was unable to seek the Court’s ruling on the fourth claim in its initial summary judgment
21    motion. Instead, Defendant presents arguments why the fourth claim should be dis-
22    missed.”).
23           Accordingly, Certified Nutraceuticals respectfully requests that the Court deny the
24    Clorox Defendants’ Ex Parte Application in its entirety.
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 1     Dated: November 1, 2021           Respectfully submitted,
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 4                                       By: /s/David A. Sergenian
 5                                           David A. Sergenian

 6                                       Attorneys for Plaintiff CERTIFIED
                                         NUTRACEUTICALS, INC.
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